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 Fill in this information to identify the case:

  Debtor 1       Niovis Janet Pereira aka Niovis Pereira aka Niovis J Pereira

  Debtor 2

 United States Bankruptcy Court for the: Southern District of Florida

 Case number :    18-24054-RAM



Official Form 410S1
Notice of Mortgage Payment Change                                                                                                                        12/15

If the debtor's plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the debtor's
principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form as a supplement to
your proof of claim at least 21 days before the new payment is due. See Bankruptcy Rule 3002.1.
     Name of               MTGLQ Investors, L.P.                                                           Court claim no.                                       3
     creditor:                                                                                             (if known):
     Last 4 digits of any number                                                                           Date of payment change:                   08/01/2022
     you use to identify the debtor's                                           8632                       Must be at least 21 days after date of
     account:                                                                                              this notice

                                                                                                           New total payment:                        $1,837.80
                                                                                                           Principal, interest, and escrow, if any


Part 1:      Escrow Account Payment Adjustment

1.   Will there be a change in the debtor's escrow account payment?
      [ ] No
      [X]     Yes. Attach a copy of the escrow account statement prepared in a form consistent with the applicable nonbankruptcy law.
                       Describe the basis for the change. If a statement is not attached, explain why:

                             Current escrow payment: $527.54                                    New escrow payment: $985.94



Part : 2     Mortgage Payment Adjustment

2. Will the debtor's principal and interest payment change based on an adjustment to the interest rate on the debtor's
   variable-rate account?

      [X] No
      [ ] Yes. Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a
                     notice is not attached, explain why:

                     Current interest rate:                                            New interest rate:
                     Current Principal and interest payment:                           New principal and interest payment:



Part 3:      Other Payment Change

3. Will there be a change in the debtor's mortgage payment for a reason not listed above?
       [X] No
       [ ] Yes. Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan modification
                      agreement. (Court approval may be required before the payment change can take effect).
                      Reason for change:
                             Current mortgage payment:                                          New mortgage payment:




Official Form 410S1                                                     Notice of Mortgage Payment Change                                                        page 1
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Debtor 1 Niovis Janet Pereira aka Niovis Pereira aka Niovis J Pereira                 Case number (if known)             18-24054-RAM
                First Name              Middle Name           Last Name




Part 4:           Sign Below

 The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
 telephone number.

Check the appropriate box:


[]       I am the creditor.

[X]       I am the creditor's attorney or authorized agent.


I declare under penalty of perjury that the information provided in this claim is true and correct to the best of my
knowledge, information, and reasonable belief.


    /S/ Christopher Giacinto                                                                Date   06/10/2022
    Signature



Print:                       Christopher Giacinto                                Title Authorized Agent for Creditor

Company                      Padgett Law Group

Address                      6267 Old Water Oak Road, Suite 203

                             Tallahassee FL, 32312

Contact phone                (850) 422-2520                   Email              PLGinquiries@padgettlawgroup.com




Official Form 410S1                                                   Notice of Mortgage Payment Change                                 page 2
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                                      CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that a true and correct copy of the foregoing has been furnished to the parties

                                                                                                 10th
on the attached Service List by electronic service and/or by First Class U.S. Mail on this the _________ day of

June, 2022.



                                                    /S/ Christopher Giacinto

                                                    ___________________________________
                                                    CHRISTOPHER GIACINTO
                                                    PADGETT LAW GROUP
                                                    6267 Old Water Oak Road, Suite 203
                                                    Tallahassee, FL 32312
                                                    (850) 422-2520 (telephone)
                                                    (850) 422-2567 (facsimile)
                                                    PLGinquiries@padgettlawgroup.com
                                                    Authorized Agent for Creditor




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                             SERVICE LIST (CASE NO. 18-24054-RAM)

Debtor
Niovis Janet Pereira
531 West 38th Place
Hialeah, FL 33012-4229
aka Niovis Pereira
aka Niovis J Pereira

Attorney
Robert Sanchez, Esq
355 West 49 Street
Hialeah, FL 33012

Trustee
Nancy K. Neidich
www.ch13miami.com
P.O. Box 279806
Miramar, FL 33027

US Trustee
Office of the US Trustee
51 Southwest 1st Avenue
Suite 1204
Miami, FL 33130




Official Form 410S1                 Notice of Mortgage Payment Change                 page 4
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                                                                Shellpoint Mortgage Servicing
                                                                Servicing
                                                                PO Box 10826
                                                                Greenville, SC 29603 0826
                                                                For Inquiries: (800) 365-7107

                                                                                                               Analysis Date:                                      May 31, 2022
       NIOVIS JANET PEREIRA
       531 W 38TH PL                                                                                           Property Address:
       HIALEAH FL 33012                                                                                        531 W 38TH PL
                                                                                                               HIALEAH, FL 33012




                                                Annual Escrow Account Disclosure Statement - Account History
              “THIS NOTICE IS BEING PROVIDED PURSUANT TO THE REAL ESTATE SETTLEMENT PROCEDURES ACT AND REGULATION X. TO THE EXTENT THE
                  LOAN DESCRIBED BELOW IS INCLUDED IN AN ACTIVE BANKRUPTCY CASE OR IS SUBJECT TO A BANKRUPTCY DISCHARGE, THIS NOTICE IS
                 BEING PROVIDED FOR INFORMATIONAL PURPOSES ONLY AND IS NOT A DEMAND FOR PAYMENT OR AN ATTEMPT TO COLLECT THE DEBT
                                                                          FROM YOU PERSONALLY”
     The following is an overview of your escrow account with Shellpoint Mortgage Servicing. It contains the history of escrow payments made on your
     behalf in the prior year, and a snapshot of the anticipated disbursements for the coming year. Any potential adjustments due to increases or
     decreases with your escrow items may affect your monthly escrow payment. If your escrow payment increases, your monthly payment will also
     increase. If the escrow payment decreases, your mortgage payment will decrease.
Payment Information       Contractual    Effective Aug01, 2022         Prior Esc Pmt              July 01, 2022       Escrow Balance Calculation
P & I Pmt:                    $851.86                    $851.86       P & I Pmt:                       $851.86       Due Date:                                  February 01, 2022
Escrow Pmt:                   $527.54                    $985.94       Escrow Pmt:                      $527.54       Escrow Balance:                                  -$6,475.00
Other Funds Pmt:                $0.00                      $0.00       Other Funds Pmt:                   $0.00       Anticipated Pmts to Escrow:                       $3,165.24
Asst. Pmt (-):                  $0.00                      $0.00       Asst. Pmt (-):                     $0.00       Anticipated Pmts from Escrow (-):                      $0.00
Reserve Acct Pmt:               $0.00                      $0.00       Resrv Acct Pmt:                    $0.00
Total Payment:              $1,379.40                  $1,837.80       Total Payment:                $1,379.40        Anticipated Escrow Balance:                       -$3,309.76

Shortage/Overage Information                      Effective Aug01, 2022           Cushion Calculation: Because Shellpoint Mortgage Servicing does not set your tax
Upcoming Total Annual Bills                                     $6,817.17         amounts or insurance premiums, your escrow balance contains a cushion of
Required Cushion                                                $1,136.20         1,136.20. A cushion is an additional amount of funds held in your escrow in order to
Required Starting Balance                                       $1,704.27         prevent the balance from becoming overdrawn when an increase in the
Escrow Shortage                                                -$5,014.03         disbursement amount occurs. Your lowest monthly balance should not be below
                                                                                  1,136.20 or 1/6 of the anticipated payment from the account.


     This is a statement of actual activity in your escrow account from Aug2021 to July 2022. Last year's anticipated activity (payments to and from your
     escrow account) is next to the actual activity.
                        Payments to Escrow                   Payments From Escrow                                                 Escrow Balance
        Date            Anticipated      Actual              Anticipated       Actual                 Description                 Required              Actual
                                                                                                Starting Balance                   1,582.64         (9,135.13)
       Aug 2021               527.54                                                       *                                       2,110.18         (9,135.13)
       Sep 2021               527.54                                                       *                                       2,637.72         (9,135.13)
       Oct 2021               527.54                                                       *                                       3,165.26         (9,135.13)
       Nov 2021               527.54                            1,819.50          1,848.17 * County Tax                            1,873.30        (10,983.30)
       Dec 2021               527.54                                                       *                                       2,400.84        (10,983.30)
       Jan 2022               527.54                                                       *                                       2,928.38        (10,983.30)
       Feb 2022               527.54                                                       *                                       3,455.92        (10,983.30)
       Mar 2022               527.54          7,618.60                                     *                                       3,983.46         (3,364.70)
       Apr 2022               527.54          1,055.08                                     *                                       4,511.00         (2,309.62)
       May 2022               527.54            527.54                                                                             5,038.54         (1,782.08)
       May 2022                                                                   4,969.00 * Hazard                                5,038.54         (6,751.08)
       Jun 2022               527.54                            4,511.00                   * Hazard                                1,055.08         (6,751.08)
       Jul 2022               527.54                                                       *                                       1,582.62         (6,751.08)
                                                                                             Anticipated Transactions              1,582.62         (6,751.08)
       Jul 2022                               3,165.24 P                                                                                            (3,585.84)
                            $6,330.48        $12,366.46        $6,330.50         $6,817.17
     An asterisk (*) indicates a difference from a previous estimate either in the date or the amount . If you want a further explanation, please call our toll -free number.
     P - The letter (P) beside an amount indicates that the payment or disbursement has not yet occurred but is estimated to occur as shown .
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                                                                     Servicing                                                    Page 6 of 6
                                                                 For Inquiries: (800) 365-7107

                                                                                                                    Analysis Date:                                         May 31, 2022


                                       Annual Escrow Account Disclosure Statement - Projections for Coming Year
 This is an estimate of activity in your escrow account during the coming year based on payments anticipated to be made to and from your account.
      Date                    Anticipated Payments                                                                                           Escrow Balance
                             To Escrow       From Escrow                    Description                                              Anticipated           Required
                                                                            Starting Balance                                           (3,309.76)                  1,704.27
   Aug 2022                       568.10                                                                                               (2,741.66)                  2,272.37
   Sep 2022                       568.10                                                                                               (2,173.56)                  2,840.47
   Oct 2022                       568.10                                                                                               (1,605.46)                  3,408.57
   Nov 2022                       568.10           1,848.17                 County Tax                                                 (2,885.53)                  2,128.50
   Dec 2022                       568.10                                                                                               (2,317.43)                  2,696.60
   Jan 2023                       568.10                                                                                               (1,749.33)                  3,264.70
   Feb 2023                       568.10                                                                                               (1,181.23)                  3,832.80
   Mar 2023                       568.10                                                                                                 (613.13)                  4,400.90
   Apr 2023                       568.10                                                                                                  (45.03)                  4,969.00
   May 2023                       568.10                                                                                                  523.07                   5,537.10
   Jun 2023                       568.10           4,969.00                 Hazard                                                     (3,877.83)                  1,136.20
   Jul 2023                       568.10                                                                                               (3,309.73)                  1,704.30
                                $6,817.20          $6,817.17
 (Please keep this statement for comparison with the actual activity in your account at the end of the escrow accounting computation year.)

 Your ending balance from the last month of the account history (escrow balance anticipated) is (3,309.76). Your starting
 balance (escrow balance required) according to this analysis should be $1,704.27. This means you have a shortage of 5,014.03.


 We anticipate the total of your coming year bills to be6,817.17. We divide that amount by the number of payments expected during the coming year to
 obtain your escrow payment.
  New Escrow Payment Calculation
   Unadjusted Escrow Payment                                           $568.10

   Shortage Installment:                                               $417.84
   Rounding Adjustment Amount:                                           $0.00
   Escrow Payment:                                                     $985.94
If you are a customer in bankruptcy or a customer who has received a bankruptcy discharge of this debt: please be advised that this notice is to advise you of the status of your mortgage loan
This notice constitutes neither a demand for payment nor a notice of personal liability to any recipient hereof, who might have received a discharge of such debt in accordance with applicable
bankruptcy laws or who might be subject to the automatic stay of Section362 of the United States Bankruptcy Code. However, it may be a notice of possible enforcement of the lien against the
collateral property, which has not been discharged in your bankruptcy.
Notice of Error or Information Request Address
You have certain rights under Federal law related to resolving errors in the servicing of your loan and requesting information about your loan. If you want to request information about your loan
or if you believe an error has occurred in the servicing of your loan and would like to submit an Error Resolution or Information Request, please write to us at the following address:
Shellpoint Mortgage Servicing
PO Box 10826
Greenville, SC 29603 0826
